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              EXHIBIT 297
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1                IN THE UNITED STATES DISTRICT COURT

2               FOR THE SOUTHERN DISTRICT OF NEW YORK

3       GOVERNMENT OF THE UNITED STATES
        VIRGIN ISLANDS,
4
                         Plaintiff,
5
                vs.                                No. 22-cv-10904-JSR
6
        JPMORGAN CHASE BANK, N.A.,
7
                       Defendant.
8       _______________________________

9       JPMORGAN CHASE BANK, N.A.,

10                    Third-Party Plaintiff,

11      v.

12      JAMES EDWARD STALEY,
        Third-Party Defendant.
13      __________________________________

14

15                THE ORAL DEPOSITION OF CECILE DE JONGH was

16      taken on the 29th day of May, 2021 at the Ritz-Carlton

17      Hotel, 6900 Great Bay, Nazareth, St. Thomas, U.S. Virgin

18      Islands, between the hours of 9:02 a.m. and 2:22 p.m.

19      pursuant to Notice and Federal Rules of Civil Procedure.

20                         ____________________
                               Reported by:
21

22                           DESIREE D. HILL
                        Registered Merit Reporter
23                      Hill's Reporting Services
                             P.O. Box 307501
24                     St. Thomas, Virgin Islands
                              (340) 714-0269
25
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                      CECILE DE JONGH -- DIRECT                        17


1       had an issue, who should I talk to to get something

2       done.

3             Q.     Okay.   All right.    And did your husband

4       have any process for recusing himself from issues that

5       related to the company you worked for?

6             A.     I don't know if he had any process.

7             Q.     Okay.   You're not aware of any?

8             A.     I said I don't know.

9             Q.     Okay.   You're not aware of him recusing

10      himself from any issue regarding Mr. Epstein?

11            A.     I'm not aware of that, no.

12            Q.     Okay.   All right.    Now, when your husband

13      became the governor, did you sort of get a second job

14      result of that as the first lady of the Virgin

15      Islands?

16            A.     Yes.

17            Q.     And what did that job entail?

18            A.     Giving a lot of speeches.      I mean, he ran

19      twice.     So he ran in 2002 and lost.     I was not very

20      involved in that campaign.       And between 2002 and

21      2006, you know, right after 2002, we discovered that

22      our youngest son had some serious health issues.

23                     So I was very focused on that.        We both

24      were.    And then he subsequently decided to run in

25      2006, and I was very involved in making sure that our
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 4 of 27

                     CECILE DE JONGH -- DIRECT                         18


1       son was okay.

2                      I also had my great aunt who was in

3       failing health.     She had had breast cancer.       And so

4       part of that -- I mean, he actually made me a promise

5       that I would never have to give a speech, and that

6       was not true.

7                      And he asked me to head up -- well, he

8       and his team asked me to head up the Women For de

9       Jongh- Francis at the time, and -- which I did.          And

10      so we did -- you know -- so during the campaign part,

11      we did things like, you know, gatherings for

12      children, walking -- you know, doing walks and just

13      sort of -- and food sales and things like that.

14                     And I tried to do as many things as I

15      could that wouldn't take away time from either work

16      or from my children.

17                     And then once he won, it became very

18      overwhelming because my aunt passed away within two

19      months of my husband becoming governor.         I had to

20      settle her affairs, and my mother was diagnosed with

21      Alzheimer's, and my sister, who was bipolar --

22            Q.     I'm sorry.    I saw in the emails about your

23      sister -- you don't have to talk about that if you

24      prefer not to.

25            A.     She had a very public breakdown which was
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 5 of 27

                      CECILE DE JONGH -- DIRECT                       19


1       newsworthy at the time.       So there was just a lot on

2       my plate.

3                      And then I was also very involved in the

4       National Governors Association.

5                     THE REPORTER:   I'm sorry.

6                     THE WITNESS:    The National Governors

7             Association, because a lot of the first ladies

8             were involved in mostly of children's

9             activities.

10                    And the thing that I chose to do was to --

11            to focus on literacy, because there are many

12            children in the Virgin Islands that didn't

13            have -- when we would do door-to-door, during

14            the campaign, one of the things I discovered

15            that a lot of the household didn't have books in

16            them.

17                     So my big project every year was to find

18      a local author and have them write a book and give

19      the books away for free because I didn't want to give

20      toys and I didn't want to give candy.

21                     And so we'd have holiday parties and

22      give away the books.      So I would raise money during

23      the year for that.     And which, you know, took up a

24      lot of time.    But I also got a lot of requests for --

25      just give a lot of speeches.
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                     CECILE DE JONGH -- DIRECT                        20


1             Q.     And did you have an office as first lady?

2             A.     No.

3             Q.     Did you have, like, an office address?

4             A.     No.

5             Q.     Do you have, like, an official Twitter

6       feed?

7             A.     Somebody set up a, I think a FaceBook

8       something for me.     I'm -- I'm not on -- I'm not on

9       Twitter.    I actually don't know how Twitter works.

10                     And I know that I had -- I had an email

11      that was set up for me that I never really used

12      because I had to go into the government system and

13      then do something else and something else to get into

14      it.   And so I just asked the head of protocol, Raul

15      Carrillo, I said if anything comes in, because it was

16      -- it was the email address that they would give out

17      to people saying, you know, if you want the First

18      Lady to, you know, give a speech or show up

19      somewhere, you know, email her at this email address.

20                     And so that was what was done. so I said

21      can you just monitor it and if -- you know, just send

22      me whatever and I'll see whether it fits into my

23      schedule and I would either do it or not do it.

24            Q.     Okay.   And did you have any staff that

25      helped you in your role as First Lady?
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 7 of 27

                      CECILE DE JONGH -- DIRECT                       21


1             A.     Well, I had the chief of protocol.        But

2       everybody -- all those people worked for Government

3       House.     So it was the expectation that if there was a

4       social event -- if there was a social event, I was

5       responsible for it.      I found it sometimes very

6       misogynistic.

7             Q.     Sure.

8             A.     But it was what it was.      That if -- you

9       know, if there was going to be sort of an event after

10      the State of the Territory, that I should be pick the

11      caterer, I should do this, you know.

12                     And so the chief of protocol had one or

13      two staff members, and so I would have -- you know, I

14      would run over to Government House and say, okay,

15      what are we doing?     You know, who are we inviting?

16      And they would sort of handle everything.

17                     But they worked for -- they didn't

18      exclusively work for me.      They worked for Government

19      House.

20            Q.     Got it.   All right.    Let's look at

21      Exhibit 3.

22                   MS. WARREN:    Tab 3, Exhibit 1.

23                   MR. NEIMAN:    Yeah, Tab 3.    I will ask

24            the reporter to mark as Exhibit 1 a one-page

25            document.
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 8 of 27

                     CECILE DE JONGH -- DIRECT                        33


1       with them to inspect it.

2                      So, here's your R.O. plant, here's the

3       generator.    So I did that, and I think they came over

4       like three different times for that.

5             Q.     Okay.

6             A.     One for the R.O. plant, and I think twice

7       for the generator because I think, if I remember

8       correctly, something, they needed something for the

9       spill kit, wasn't there.      So he come back and make

10      sure whatever needed to be in the spill kit was

11      there.

12            Q.     Okay.   Is that all the meetings that you

13      remember -- withdrawn.

14                   All the times that you remember going to

15      Little St. James?

16            A.     Little St. James, yes.

17            Q.     Okay.   Did there come a time when you

18      learned that Mr. Epstein had been arrested in Florida?

19            A.     Yes.

20            Q.     When was that?

21            A.     I think that was in 2006.

22            Q.     Okay.   How did you learn about it?

23            A.     In the news.

24                   THE REPORTER:    I'm sorry.

25                   THE WITNESS:    In the news.
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 9 of 27

                      CECILE DE JONGH -- DIRECT                         34


1             Q.     (By Mr. Neiman:)     What do you remember

2       learning about it?

3             A.     That he was arrested for soliciting an

4       underage -- soliciting a minor.

5             Q.     Okay.    Did you ever talk to Mr. Epstein

6       about that?

7             A.     I did.

8             Q.     Tell me about that conversation.

9             A.     I basically asked him what was going on

10      and like -- I don't want to swear, but --

11            Q.     Go ahead.

12            A.     Sort of, like, what the hell is going on.

13      And he said, I -- it was an error in judgment.          And I

14      said, so, that's it, you approached somebody who you

15      thought was older?     And he said, yes.

16                     And -- but she wasn't?      And he said, no.

17                     And I said, "And so you -- that's what

18      you were arrested for?      That was it?"     And he said,

19      "Yes."

20                     And I said -- so I said to him, I said,

21      so, this will never happen again?        And he goes,

22      absolutely not.      I've learned my lesson.

23                     I said, well, yeah, I mean, you know,

24      seems like you're in big trouble.        And he says, yes.

25      And then when I learned, you know, that, you know,
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 10 of 27

                      CECILE DE JONGH -- DIRECT                        35


1       that he would be -- well, that's, you know -- that's

2       the conversation that we had at this point.

3             Q.     All right.    And what happened from there on

4       at this time?

5                    MS. BOGGS:    Objection.    Vague.

6             Q.     (By Mr. Neiman:)     You could answer.

7             A.     I'm sorry.

8             Q.     Just let me explain how this works.         The

9       lawyers sometimes have to say "objection," but unless

10      they tell you not to answer, you could go ahead and

11      answer.

12            A.     Okay.   And I do specifically remember when

13      I learned that he was going to be, because of that

14      one incident, that he said was one incident, that he

15      would have to be a registered sex offender.

16                      I remember it because I went home to my

17      17-year-old son and I said, you know, this sex

18      offender thing is very serious and I want you to be

19      very careful, because he was about to go off to

20      college.

21                      And I said and I -- don't make any

22      mistakes because this is the rest of your life you're

23      talking about.     So don't date anybody younger, don't

24      go out to bars and, you know, just, you know, and,

25      you know, be on your P's and Q's.
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                      CECILE DE JONGH -- DIRECT                        36


1                       And he was, like, mom, and I said, I

2       just -- I'm nervous about this, you know, because I

3       have two boys, and my other son was nine years

4       younger, so it wasn't a conversation I would have

5       with him at the time.

6                       But I just said, you know, you're going

7       off to college and I just -- you know, we've had --

8       we've had the black talk, and I wanted to have this

9       talk with him.     That this was very important that you

10      remember this because this is the rest of your life.

11            Q.     Okay.   Did you have further discussions

12      with Mr. Epstein about the events that led to his

13      arrest?

14            A.     No, I didn't.

15            Q.     Okay.   Did you have further discussions

16      with Mr. Epstein about the case he was facing in

17      Florida and what was going to happen to him?

18            A.     No, I did not.

19            Q.     Okay.   Other than that one conversation

20      that you've described where you asked him what the

21      hell is this about, and he gave you his story, did you

22      ever talk to him further about anything related to the

23      case against him in Florida?

24            A.     I never had a conversation with him about

25      it, no.
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                      CECILE DE JONGH -- DIRECT                        37


1             Q.      Okay.   Did you continue to see things in

2       the newspaper about him?

3             A.      I continued to see things in the newspaper

4       about, you know, that it was solicitation, and that

5       he was going to be a registered sex offender, which

6       lined up with what he said.

7             Q.      I mean, did you see articles indicating

8       that the investigated related to dozens of people?

9             A.      At that time, I don't recall seeing that

10      until much, much later.

11            Q.      Okay.   And how did you find out that he was

12      going to go to jail?

13            A.      I don't recall how I found out.       I

14      actually don't recall how I found out he was going to

15      jail.

16            Q.      Okay.   But at some point you did find out

17      that he was going to jail?

18            A.      Yeah.   Eh-hmm.

19            Q.      Did you ever talk to him about that?

20            A.      I think he talked to the whole office and

21      told the whole office --

22                    THE REPORTER:     I'm sorry.

23                    THE WITNESS:    He talked to the whole

24            office and told the office that he going to be

25            away.
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 13 of 27

                      CECILE DE JONGH -- DIRECT                        38


1             Q.      (By Mr. Neiman:)    And what did he say?

2             A.      Just, I'm gonna be away for a while for a

3       stupid thing that I did.

4             Q.      And did it make sense to you his story,

5       that he was going to jail for one time, soliciting one

6       person who he didn't realize was underage?

7                     MS. BOGGS:    Objection, vague.

8                     THE WITNESS:    It did at the time, you

9             know.   He was in Florida.      You know, that was

10            Florida law, and that's, you know, his -- you

11            know, those were all the stories that came out

12            in the newspaper, that this is what was going

13            to happen.    Nothing else came out that -- that

14            he was going away for anything else.

15            Q.      (By Mr. Neiman:)    Did you hear -- recall

16      hearing rumors at that time that he had been bringing

17      young women to Little St. John -- Little St. James,

18      rather?

19            A.      No.

20            Q.      When did you start hearing those rumors?

21                    MR. TEAGUE:    Object to form.    You can

22            answer.

23            Q.      (By Mr. Neiman:) You can answer.

24                    MR. TEAGUE:    You can answer.

25                    THE WITNESS:    Not until like early '19,
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 14 of 27

                      CECILE DE JONGH -- DIRECT                        39


1             2019 when I think the Miami Herald started

2             running stores about him.

3             Q.     (By Mr. Neiman:)     And did you talk to

4       Mr. Epstein when you saw those stories?

5             A.     No, I didn't.     I emailed Darren and said,

6       basically, is there any truth to any of this?

7             Q.     Eh-hmm.

8             A.     And he responded, no.

9             Q.     Had you ever seen young women around

10      Mr. Epstein?

11            A.     No. -- I mean, he had Sarah Kellen, who

12      was his assistant.

13            Q.     Eh-hmm.

14            A.     She was in her twenties.       And he had his

15      girlfriend, Karyna, who was in her twenties.

16            Q.     Eh-hmm.

17            A.     Those were the -- those were the young

18      women that I had seen.

19            Q.     Okay.   Do you remember a time when he asked

20      you to help him with some issues related to other

21      young women?

22                   MS. BOGGS:    Objection, vague.

23            Q.     (By Mr. Neiman:)     You can answer.

24            A.     I think there was a time when he asked

25      about some young ladies going to UVI.
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                      CECILE DE JONGH -- DIRECT                         129


1             Q.     Second page of the document in response to

2       your email.

3             A.     Eh-hmm.

4             Q.     Ms. Jackson writes back, right?

5             A.     Yeah.

6             Q.     And there's a little back and forth.         And

7       then on the first page, at the bottom of the page

8       Ms. Jackson advises you that this ESL class isn't

9       offered every semester.       Do you see that?

10            A.     Yes.

11            Q.     And that what they do is they keep a list

12      of names and when they get enough people, they offer

13      the class.    Do you see that?

14            A.     Yes.

15            Q.     And you passed that information on to

16      Mr. Epstein, right?

17            A.     Yes.

18            Q.     And Mr. Epstein wrote back to you and said,

19      "If it worked, both Julia and Renata would sign up."

20      Do you see that?

21            A.     Yes.

22            Q.     So he's now telling you there are two women

23      who could benefit from an English as a second class --

24            A.     Okay.

25            Q.     -- that he might want to arrange, right?
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 16 of 27

                      CECILE DE JONGH -- DIRECT                       131


1                    (Deposition Exhibit No. 26 was

2                     marked for identification.)

3             Q.     (By Mr. Neiman:)     Okay.    Let's take a look

4       now at Exhibit 26.      You see at the bottom of the page,

5       Mr. Epstein writes back to you, "I can enroll Julia,

6       Renata, and Svet if that helps the school."          Do you

7       see that?

8             A.     Eh-hmm.

9             Q.     So he's now identified a third person with

10      an Eastern European name who could benefit from

11      English as a second language classes, right?

12                   MR. TEAGUE:     Objection, form.     You could

13            answer.

14                   THE WITNESS:     Yes, those three names

15            were there.

16            Q.     (By Mr. Neiman:)     Okay.    Did it ever cross

17      your mind to wonder whether there was something wrong

18      with this convicted sex offender telling you I have

19      three women who I'd like to help learn to speak

20      English?

21                   MS. BOGGS:    Objection, vague,

22            argumentative.

23                   THE WITNESS:     This is -- this is a

24            person who had one offense, had to register as

25            a sex offender.     Didn't see him with any --
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 17 of 27

                      CECILE DE JONGH -- DIRECT                      132


1             anybody underage, or anything.        And I'm

2             thinking he is just trying to be helpful to

3             people.

4                    Okay.   Just like he is helpful for people

5             in our office when somebody dies and, you know,

6             he helps them fly their, you know, their --

7             their parents wherever they need to get buried.

8             Whatever is asked, he would usually do it.

9                    I would hear, you know, when somebody is

10            on the island, you know, somebody was from Haiti

11            and they needed to take supplies down to their

12            family, he flew them down to do that.

13                   In that context, that's what I was

14            thinking, that's what he does.        So I had no

15            reason to believe that he was doing anything

16            untoward with these ladies.

17            Q.     (By Mr. Neiman:)     Eh-hmm.    And the fact

18      that he was doing something on behalf of Eastern

19      European women didn't raise a red flag in your mind?

20            A.     Well, how would I know based on the names

21      that they're necessarily Eastern European.

22            Q.     Well, Renata?

23            A.     Renata could be Italian.

24            Q.     Svetlana?

25            A.     Svetlana?    You know, Julia?
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 18 of 27

                      CECILE DE JONGH -- DIRECT                      133


1             Q.     Well, Svetlana?     Eastern European?

2             A.     Just like --

3                    MS. BOGGS:    Objection, argumentative.

4                    MR. TEAGUE:     I mean, the spelling,

5             Counsel, is S-V-E-T.      So you're telling me

6             that's Svetlana?

7                    MR. NEIMAN:     Well, I can show you 20

8             more documents here it's spelled Svetlana.

9                    MR. TEAGUE:     Then that's fine.

10                   THE WITNESS:     Okay.   I would never do

11            anything to harm anyone, or to aid and abet

12            anyone in harming someone.

13            Q.     (By Mr. Neiman:)     Yeah.    So just staying on

14      top, let's just take a look at --

15            A.     No, no.

16            Q.     -- at 181.

17            A.     -- you're accusing me of something.

18                   MR. TEAGUE:     Wait for the question.

19                   THE WITNESS:     No, I have a daughter,

20            too.

21                   MR. TEAGUE:     That's okay.    Wait for the

22            question to be asked.

23                   THE WITNESS:     I have a daughter.     And I

24            wouldn't want anybody to do that to my

25            daughter.    And by the way, just as a joke, I
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 19 of 27

                      CECILE DE JONGH -- DIRECT                      134


1             actually enrolled my daughter in ESL for camp

2             not knowing what it was.

3             Q.     (By Mr. Neiman:)     Okay.    Let's take a look

4       at --

5                    MR. TEAGUE:     Counsel, we are going to be

6             taking a break in about 15 minutes.         So just

7             to give you a head's up.

8             Q.     (By Mr. Neiman:)     Sure.    That's fine.

9                    MR. NEIMAN:     I ask the reporter to mark

10            Exhibit 27, a two-page document.

11                   (Deposition Exhibit No. 27 was

12                    marked for identification.)

13            Q.     (By Mr. Neiman:)     All right.    You see that

14      Exhibit 27 is another email exchange on this topic of

15      the ESL course at the U.S. Virgin Islands -- excuse

16      me.   Withdrawn.     I'll start again.

17                   Do you see that Exhibit 27 --

18            A.     Yes.

19            Q.     -- is another email exchange on this ESL

20      course at the University of the Virgin Islands topic?

21            A.     Yes.

22            Q.     Okay.   And you'll see at the second page of

23      the email, that a person named Ann Rodriquez at the

24      bottom of the first page, top of the second page, is

25      chiming in with some information about the last names
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 20 of 27

                      CECILE DE JONGH -- DIRECT                      136


1       an email in June of 2013 from you to Mr. Epstein,

2       correct?

3             A.     Eh-hmm.

4             Q.     And it's, again, on this topic of the ESL

5       class?

6             A.     Right.

7             Q.     And you're asking Mr. Epstein if the ladies

8       still plan on taking the class this summer?

9             A.     Right.

10            Q.     Okay.    From your point of view, do you

11      think it's unfair to suggest that knowing that

12      Mr. Epstein was doing things for women with Eastern

13      European names is the same as a red flag for sex

14      trafficking?

15                   MS. BOGGS:    Objection, argumentative.

16                   MR. TEAGUE:     Objection.

17            Q.     (By Mr. Neiman:)     From your point of view.

18                   MR. TEAGUE:     Objection to form.

19                   THE WITNESS:     From hindsight, from where

20            I sit now?

21            Q.     (By Mr. Neiman:) No.      Well, from where you

22      sat then?

23            A.     Where I sat then?      I didn't know -- didn't

24      know anything about sex trafficking then.          He had

25      one -- one charge for solicitation.         Didn't know
     Case 1:22-cv-10904-JSR Document 245-22 Filed 07/25/23 Page 21 of 27

                      CECILE DE JONGH -- DIRECT                      137


1       anything about sex trafficking.

2             Q.     (By Mr. Neiman:)     Right.    And so --

3                    MS. BOGGS:    Since we're talking about

4             victims of sex trafficking, let's designate

5             the entire transcript as confidential.

6                    MR. NEIMAN:     Sure.

7                    MS. BOGGS:    And then we can de-designate

8             as determined by the practice of the parties.

9                    MR. NEIMAN:     Of course.

10                   THE REPORTER:     Determining by --

11                   MS. BOGGS:    By the practice of the

12            parties.

13            Q.     (By Mr. Neiman:)     Okay.    Let me just ask

14      you the question from your point of view knowing what

15      you knew at the time.

16            A.     I'm sorry.

17            Q.     From your point of view --

18            A.     Eh-hmm.

19            Q.     -- knowing what you knew at the time, do

20      you think it would be unfair to infer from evidence

21      that Mr. Epstein was doing something to benefit women

22      from Eastern Europe that he was engaged in sex

23      trafficking.

24                   MS. BOGGS:    Objection.

25                   MR. TEAGUE:     Objection, form.
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                      CECILE DE JONGH -- DIRECT                      212


1                       So I thought he was an architect, and

2       then somebody said, no, I think he's a talent agent

3       or something.

4             Q.     Okay.   That was Mr. Brunel?

5                    THE REPORTER:     That was Mr. --

6                    MR. NEIMAN:     Mr. Brunel.

7                    THE WITNESS:     I subsequently, like -- I

8             think when he -- when I read that he committed

9             suicide, that I figured out that that's who

10            that was.

11            Q.     (By Mr. Neiman:)     I got it.    Anything else

12      that you can recall learning about allegation related

13      to Mr. Epstein from your Googling from say 2006 to

14      2018?

15            A.     Now, and -- I mean, it wasn't something --

16      I didn't Google a lot.       I mean, I had a lot on my

17      plate.

18            Q.     Sure.

19            A.     And I did a lot of traveling with being

20      First Lady, but also, you know, taking my kids for

21      medical things and, you know, a lot of this job had

22      to do with me trying to spend a lot of time focusing

23      on my kids.

24            Q.     Understood.     Fair to say that you didn't

25      kind of do your own investigation to make sure you
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1       were comfortable with Mr. Epstein?

2                    MS. BOGGS:    Objection, vague.      You could

3             answer.

4                    THE WITNESS:     Well, I looked him in the

5             eye and asked him, you know "What the hell is

6             going on," that I had a family, that I had a

7             daughter and, you know, what's going on, and

8             what he said was just a mistake.        Mistook

9             somebody to be older than they were.

10                   And, you know -- and he got caught and had

11            to go to jail and register as a sex offender.

12            And I think I told you that I went home to my

13            17-year-old son and explained to him that this

14            is real life.

15                   And I guess at that point, I just thought

16            that if I could look someone in the eye, I like

17            to tell the truth, and I figured that he was

18            going to tell me the truth.

19            Q.     (By Mr. Neiman:) You found him convincing

20      when he responded to you?

21            A.     Yes.

22            Q.     All right.    How did you learn that

23      Mr. Epstein's second arrest?

24            A.     I was with my family, and my son was

25      going -- my youngest son was going to school at
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1       know, like ten people and scour the island to make

2       sure that, you know, things were on the up and up.

3                       I'm sorry, what was the question?

4             Q.     My question was whether anybody from the

5       Virgin Islands law enforcement ever contacted you

6       about Mr. Epstein up to the time that he was arrested

7       for the second time in New York?

8             A.     Up until?

9             Q.     Up until that time.

10            A.     No.

11            Q.     Okay.   Looking back, you know, obviously

12      hindsight is much clearer sometimes than what we

13      experience in realtime.

14                   Is there anything that you saw that

15      looks different today than it did to you at the

16      time?

17            A.     What I didn't see, and I guess what I

18      would have looked for were underage girls.

19            Q.     Eh-hmm.

20            A.     And I didn't -- I didn't see that.         Maybe

21      that was -- and in hindsight now, you know, I didn't

22      have -- I didn't have an understanding about sex

23      trafficking.

24                      You know, that somebody could be 30

25      years old and be sex trafficked.        I didn't -- and
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1       maybe -- maybe I've led a sheltered life, but I

2       didn't understand that.

3                       And that, you know, if somebody is

4       introduced as somebody's girlfriend, I took it as

5       face value that that's their girlfriend.

6                       So, in hindsight, you know, maybe some

7       alarm bells would have gone off with what I know

8       today, yes.

9             Q.     Did any of the women that you met

10      associated with Mr. Epstein ever look distressed to

11      you at the time?

12            A.     No.   And I guess that's the reason why,

13      you know, the few times that they would come into the

14      office, they would ask, you know, ask somebody where

15      can we go to buy ice cream, or where -- you know,

16      they would go off on their own.

17            Q.     Eh-hmm.

18            A.     And I guess my naive idea about being

19      controlled and being, you know, is that, somebody's

20      got you, sort of tethered, and they, from my

21      understanding would fly down on their own, they'd fly

22      back on their own.

23                      They would -- so, I just thought that

24      they were, you know girlfriends.        And that they were

25      -- that they were doing all of this under their free
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1       will.

2                       Hindsight is 20/20, and sure, if I knew

3       then what I knew now, you know, but there is never a

4       time where I saw somebody under distress and would go

5       to him and say, "Are you okay, can I take you

6       somewhere?"

7                       I mean, my security was my security for

8       eight years as female, and she was head of sexual

9       assault.    And she would have been the first person

10      that I would have taken them to.

11                      But it was not something that, you know,

12      that ever rang any bells, and I guess in my thoughts

13      he was deemed a sexual offender, and so he needs to

14      be monitored, you know, everything that he did.           And

15      I had a lecture by -- we all did by Darren about,

16      hey, Jeffrey can't have -- he said this, you know,

17      Mr. Epstein can't have any new emails.         All his cars

18      have to be registered.       He can't have any new

19      addresses.    So don't anybody go set up any -- any new

20      -- anything online for him.       Don't, you know --

21      everything, everything about his life is monitored,

22      and that's what we were told, that every single thing

23      is monitored.     Who he brings in, who he takes out,

24      everything is monitored.

25                      And that he would keep track of his days
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1       coming in and coming out, he and Erika, that we were

2       not to worry about that.       But that we needed to make

3       sure that, you know, if asked, not to set up a new,

4       you know, Jeffrey St. Thomas email address him

5       because he could get in trouble.        And so we

6       understood that.

7             Q.     Okay.   I notice you have your own counsel

8       here at the deposition today.        Who is paying counsel's

9       bills?

10            A.     I am.

11            Q.     What did you do to prepare for today's

12      meeting?

13            A.     I met with counsel on Saturday for about

14      six hours.

15            Q.     And what did you do in that meeting?

16            A.     I'm sorry.

17            Q.     What did you do at that meeting?

18                   MR. TEAGUE:     I would object to anything

19            about conversations with counsel that fall

20            under attorney/client privilege.        If you want

21            to ask how long she met with counsel and what

22            documents she may or may not have reviewed,

23            you may do so.

24                   MR. NEIMAN:     Sure.

25            Q.     (By Mr. Neiman:)     You said the meeting was
